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                       IN THE UNITED STATES DISTRICT  COURT
                                                  UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                                  NORTHERN  DISTRICT OF TEXAS
                                                         DALLAS DIVISION
                                 DALLAS DIVISION
                                                                        FILED
UNITED STATES OF AMERICA,                      §                      July 6, 2006
                                               §             CLERK, U.S. DISTRICT COURT
                Respondent/Plaintiff,          §
                                               §     No. 3:97-CR-0055-R (03)
vs.                                            §     (No. 3:06-CV-0076-R)
                                               §
DATARVUS TRAYLOR,                              §
                                               §
                Petitioner/Defendant.          §

                                           ORDER

         United States Magistrate Judge William F. Sanderson filed Findings, Conclusions and a

Recommendation in this case on March 20, 2006. No objections were filed. The Court has

reviewed the Magistrate Judge’s Findings, Conclusions, and Recommendation pursuant to 28 U.S.C.

§636(b) for plain error. Finding none, the Court ACCEPTS those findings as the findings of this

Court.



IT IS SO ORDERED.

SIGNED: July 6, 2006.



                                                   ___________________________________
                                                   JUDGE JERRY BUCHMEYER
                                                   SENIOR U.S. DISTRICT JUDGE
                                                   NORTHERN DISTRICT OF TEXAS
